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14
                          CENTRAL DISTRICT OF CALIFORNIA
15                               EASTERN DIVISION
16                                            ) No. 2:21-cv-05882-PD
     MARTHA RODRIGUEZ,
17                                            )
           Plaintiff,                         )
18                                            ) JUDGMENT OF REMAND
                  v.                          )
19                                            )
                                              )
20   KILOLO KIJAKAZI, Acting                  )
                                              )
     Commissioner of Social Security,         )
21                                            )
22         Defendant.                         )

23
24
           The Court having approved the parties’ Stipulation to Voluntary Remand
25
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
26
     (“Stipulation of Remand”) lodged concurrent with the lodging of the within Judgment
27
     of Remand,
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1          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
2    captioned action is remanded to the Commissioner of Social Security for further
3    proceedings consistent with the Stipulation of Remand.
4
     DATED: November 29, 2021
5
                                           HON. PATRICIA DONAHUE
6                                          UNITED STATES MAGISTRATE JUDGE
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